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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
                                    )   No. 16-CR-10343-ADB
      v.                            )
                                    )
JOHN N. KAPOOR,                     ) Redacted Version of Sealed Filing
                                    )
                                    )
            Defendant.              )
___________________________________)

                      GOVERNMENT’S OPPOSITION TO
           DEFENDANT’S EMERGENCY MOTION TO MODIFY SENTENCE

       Relying on the opinions of two physicians who have never examined him and

misrepresenting the nature and extent of the medical care he has received at the Bureau of

Prisons (BOP), Defendant John Kapoor asks this Court to release him a mere 23 months into his

66-month sentence based on purported “extraordinary and compelling circumstances.” While

the health of Kapoor—and every inmate—is an important concern for the Government, his

current condition is far from compelling and extraordinary.

       Careful review of Kapoor’s complete BOP medical file—a file not provided to the non-

treating cardiologists on whose opinions his motion relies—demonstrates that medical staff at

FPC-Duluth is more than capable of providing appropriate care for the common medical

conditions Kapoor describes in his motion. In fact, courts throughout the country have

repeatedly held that the conditions Kapoor describes in his request for early release do not

establish extraordinary and compelling circumstances necessary to justify early release under

Section 3582. See, e.g., United States v. Taffe, 2020 WL 6700445, at *3 (S.D. Fla. 2020)

(denying motion for reduced sentence for 75-year-old defendant who had skin cancer, alleged



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“three cardiovascular emergencies,” and was recommended for a “pacemaker and defibrillator”);

United States v. Frost, No. 2020 WL 3869294, at *2 (D.S.D. 2020) (denying motion for

compassionate release where defendant had “multiple heart attacks” and suffered from “many

severe medical conditions,” including “type 2 diabetes mellitus, hyperlipidemia, sleep apnea,

polyneuropathy, hypertension, cardiomyopathy, acute upper respiratory infection, COPD,

asthma, follicular cyst of the skin and subcutaneous tissue, . . . severe coronary artery disease,

severe systolic heart failure, severe obstructive sleep apnea, and severe COPD with severe

restrictive lung disease”).

       Kapoor’s medical files also show that, where appropriate, BOP has facilitated

consultations with qualified healthcare providers outside the facility (e.g., cardiologists, vascular

surgeons, and audiologist) to ensure that any medical concerns Kapoor raises are addressed.

Within BOP, the records make clear that when Kapoor makes a request for medical care or

medical supplies, he is heard—a fact demonstrated by the CPAP machine Kapoor was provided

four months before he filed his motion. Kapoor attempts to pad his medical concerns by layering

onto them potential complications caused by the COVID-19 pandemic. But those arguments are

blunted by his vaccination status           and the lack of a single COVID infection at FPC-

Duluth, a BOP facility currently operating at the lowest COVID operational level (Level 1).

       Perhaps recognizing that his medical condition and COVID concerns are insufficient to

support an early release, Kapoor also points to the hardship that incarceration has caused him,

claiming his “sufferings are beyond belief.” Motion, Ex. 5 at 4. He maintains that his

relationship with his children has suffered, and that his ability to provide support to his brother

has been curtailed since he reported to prison in April 2021. Id. While the Government

appreciates these concerns and Kapoor’s apparent desire to provide support to family members



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in need, these circumstances do not justify an early release. As this Court has acknowledged,

“[i]t is the sad truth that incarceration is often harder on family members than on the defendant

[himself].” D.E. 1446. Kapoor’s supporting papers also appear to suggest that an early release

is justified because he has “suffered greatly emotionally, financially, and physically,” is “close to

bankruptcy,” 1 and has used the last year to “reflect on what happened.” Motion at Ex. 5 at 4

(Kapoor letter to Court). However, the closest Kapoor comes to expressing true remorse for his

actions is a passive-voice “apology”: “I am sincerely sorry and repentful for some of the things

that resulted.” Id. at 5 (emphasis added). This, like the rest of Kapoor’s motion, is unpersuasive.

       For these reasons, which are described in more detail below, the Court should deny

Kapoor’s request to serve the remainder of his sentence in home confinement.

                                         BACKGROUND

Kapoor’s Criminal Conduct at Insys

       Kapoor was the founder of and sole investor in Insys. He used his position of at the top

of the company to create, implement, and encourage the various criminal strategies Insys

employed to distribute Subsys—a synthetic opioid 70-100 times more powerful than fentanyl—

to doctors willing to prescribe it to anyone. As the owner of over 60% of Insys and someone

who had invested tens of millions of dollars in the company, Kapoor had a significant financial

incentive to ensure that Subsys was a success.

       According to the testimony at trial, Kapoor exercised exacting control over all aspects of

decision-making at the company. That tight control and demanding style led Kapoor to fire his



1
  Kapoor’s assertion that he is “close to bankruptcy” is belied by financial information provided
to the U.S. Attorney’s Office’s Asset Recovery Unit. If the Court requires more information
about Kapoor’s financial condition, including his recent refusal to work productively with the
Office to satisfy his restitution debt, which is not yet ripe for judicial intervention, the
government can provide further information in a sealed filing.
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Vice President of Sales in mid-2012 after releasing Subsys in what Kapoor described as “the

worst fucking launch in pharmaceutical history.” 02/12 Tr. 157: 9-11. Unsatisfied with the

success of Subsys, Kapoor hired co-defendant Alec Burlacoff and ultimately promoted him to

Vice President of Sales in September 2012. Thereafter, Kapoor approved the hiring of many of

his co-defendants: Michael Babich, Chief Executive Officer; Rich Simon, National Sales

Director; Joe Rowan, District Manager; and Sunrise Lee, Regional Manager.

       Kapoor approved the funding of the Insys Speaker Program which was designed to pay

doctors to write more (and higher-dose) prescriptions of Subsys. Around the time he approved

the program, Kapoor warned his team that if he was funding such an initiative, he was “not

throwing money out to not get paid in return.” He later insisted that the profits generated by the

illegal speaker program should be double the amount of money spent paying the doctors. 03/01/

Tr. 168:9-13. To that end, Kapoor directed those underneath him to calculate and present the

return on investment for each speaker-doctor to see if they had a “positive ROI.” 02/01 Tr. at

141:22-23. Witnesses at trial confirmed that Kapoor went through every single line of those

calculations. 2/13 Tr. 35:13-20; 03/05 Tr. 185:7-17. This demanding managerial control Kapoor

exercised at Insys could be seen in many of the ways he handled his work at the company,

including a requirement that senior employees (and members of the conspiracy) attend and his

daily morning meeting where he often displayed anger, yelled at attendees, and pressured those

under him to get better results. 02/13 Tr. 106:19-23; 03/05 Tr. 120:17-19, 122:9-17. Through

those daily meetings, Kapoor knew which doctors were writing scripts for Subsys, and which

were writing for competitor drugs. 03/05 Tr. 122:22-24.

       The strategies Kapoor approved and enforced created a risk of substantial injury for

patients. Kapoor was well aware of the dangers associated with Subsys, yet he approved extra



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financial incentives for sales reps in order to ensure that doctors wrote the highest dosages of the

drug. 02/22 Tr. 47:17-48:1 & Ex. 1501; Ex. 455 and Ex. 2070. He also approved bribing

doctors that he knew abusively prescribed opioids, including Dr. Paul Madison, who ran a pill

mill, 02/22 Tr. 49:3-13, Ex. 003, and Dr. Mahmood Ahmad who was not able to dispense

schedule II narcotics from his pharmacy and was suspected of being under investigation by the

DEA, 02/22 Tr. 56:9-19 & Ex. 004.

Kapoor’s Conviction, Sentencing and Report Date

       Following a thirteen-week trial in 2019, Kapoor and his co-conspirators were convicted

of one count of Racketeering Conspiracy. Kapoor was sentenced on January 23, 2020. Prior to

sentencing, Probation calculated Kapoor’s total offense level to be 32 and his guideline

imprisonment range to be 121 to 151 months. In his sentencing memo, Kapoor asked the Court

to issue a downward variance due to his “advanced age” and, in doing so, discussed some of the

same concerns he has raised in his now-pending motion for a reduced sentence. D.E. 1070 at 47.

The Court sentenced Kapoor to 66 months in prison—representing a 45% departure from low

end of the applicable guidelines range as calculated by Probation. Kapoor later filed or joined

multiple motions to continue his surrender date in light of the COVID-19 pandemic. In April

2021, fifteen months after sentencing, he reported to the Federal Prison Camp in Duluth,

Minnesota.

                                      LEGAL STANDARD

       Section 3582(c) begins with the principle that “a court may not modify a term of

imprisonment once it has been imposed.” 18 U.S.C. § 3582(c); see Dillon v. United States, 560

U.S. 817, 819, 824–25 (2010). “[T]here is no ‘inherent authority’ for a district court to modify a

sentence as it pleases; indeed a district court’s discretion to modify a sentence is an exception to



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[§ 3582’s] general rule” barring modification. United States v. Cunningham, 554 F.3d 703, 708

(7th Cir. 2009); cf. United States v. Goodwyn, 596 F.3d 233, 235 (4th Cir. 2010) (noting that 18

U.S.C. § 3582(b) “states that a district court ‘may not modify a term of imprisonment once it has

been imposed’ unless the Bureau of Prisons moves for a reduction, the Sentencing Commission

amends the applicable Guidelines range, or another statute or Rule 35 expressly permits the court

to do so”).

       Section 3582(c)(1)(A) represents an exception to this general rule. The statute originally

permitted judicial relief only upon a motion by the BOP Director. The provision was amended

by the First Step Act, effective December 21, 2018. Under the statute as amended, a court may

now consider a defendant’s motion for compassionate release following the exhaustion of his

administrative remedies with the BOP or 30 days after submitting a request to the appropriate

warden, whichever is sooner. 18 U.S.C. § 3582(c)(1)(A). The First Step Act did not amend the

eligibility requirements for compassionate release, which are set forth in 18 U.S.C.

§ 3582(c)(1)(A) and Section 1B1.13 of the United States Sentencing Guidelines.

       “Before granting a sentence reduction in response to a prisoner-initiated motion for

compassionate release alleging extraordinary and compelling reasons, a district court must make

three findings.” United States v. Texeira-Nieves, 23 F.4th 48, 52 (1st Cir. 2022). First, the

defendant must present an “extraordinary and compelling” reason warranting a sentence

reduction under 18 U.S.C. § 3582(c)(1)(A)(i). Id. Second, the sentence reduction should be

“consistent with applicable policy statements issued by the Sentencing Commission, id., though

the court is not “constrained” by this policy statement when reviewing prisoner-initiated

motions, United States v. Ruvalcaba, 26 F.4th 14, 21 (1st Cir. 2022). And third, the district court

“must consider any applicable section 3553(a) factors” to “determine whether, in its discretion,



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the reduction . . . is warranted in whole or in part under the particular circumstances of the case.”

Texeira-Nieves, 23 F.4th at 52. Finally, while Section 3582(c)(1)(A) provides that a defendant

may request a sentence reduction only “after [he] has fully exhausted all administrative rights,”

the First Circuit recently held that this “administrative exhaustion requirement” is not

“jurisdictional” and does not bar a district court from hearing the motion. See id. at 52–53.

       In determining whether the reason offered by the defendant for compassionate release is

“extraordinary and compelling,” this Court uses the Sentencing Commission policy statement “as

a guide.” E.g., United States v. Strickland, 2022 WL 17630258, at *2 (D. Mass. 2022); see also

Motion at 10–11. These Sentencing Commission Guidelines offer “factors for consideration” for

determining whether defendant presents “extraordinary and compelling reasons to warrant early

release onto home confinement.” Strickland, 2022 WL 17630258, at *2. Two of these factors,

falling under the heading “Medical Condition of the Defendant” in Comment 1(A) under Section

1B1.13, are relevant to Kapoor. First, the court may ask whether the defendant “is suffering

from a terminal illness (i.e., a serious and advanced illness with an end of life trajectory).”

Strickland, 2022 WL 17630258, at *2; U.S.S.G. § 1B1.13, cmt. n.1(A). Alternatively, the court

may consider whether the defendant is “suffering from a serious physical or medical condition”

or “experiencing deteriorating physical . . . health because of the aging process” that both

“substantially diminishes the ability of the defendant to provide self-care within the environment

of a correctional facility and from which he . . . is not expected to recover.” Strickland, 2022

WL 17630258, at *2; U.S.S.G. § 1B1.13, cmt. n.1(A). Even in cases of elderly inmates, “not

every complex of health concerns is sufficient to warrant compassionate release.” United States

v. Saccoccia, 2021 WL 3660814, at *5 (1st Cir. 2021). This “remains true” during the COVID-

19 pandemic. Id.



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                                          ARGUMENT

A.   Kapoor’s cardiac conditions do not present an “extraordinary and compelling reason” for
     early release.

       Relying primarily on the opinions of two cardiologists who have never personally

examined Kapoor and were not given access to his extensive BOP medical record, Kapoor

contends that his cardiac condition justifies his release thirteen months early. See Motion at 11–

13. But a careful review of Kapoor’s medical file shows that he has been closely monitored and

given appropriate medical care while at FPC-Duluth, including at least three consultations at a

reputable area hospital, St. Lukes in Duluth, MN, in 2022. See Ex. 1 at USAO_000175–183;

000194; 000205. 2 Even assuming that Kapoor had an acute cardiac event in December 2022,

Kapoor would still be unable to meet the stringent standard required to justify a reduction in his

sentence.

       Kapoor’s motion lists several health conditions he had when he began his prison sentence

in April 2021, including                                                        and “cardiac

symptoms.” Motion at 4. Kapoor now reports that he has bradycardia, Peripheral Artery Diseas

(PAD), and sleep apnea. Id. at 6–7. In addition, two non-treating cardiologists, who have never

met Kapoor and have reviewed only one sliver of Kapoor’s medical records, claim that he may

have experienced a heart attack. See Motion Exs. 2–3 (letters of Dr. J. Michael Gaziano and Dr.

Roderick Woods).

       Kapoor’s treatable conditions do not justify early release—even if Kapoor did suffer a

heart attack while incarcerated. Kapoor’s medical conditions pale in comparison to those courts




2
 Kapoor’s Motion included his BOP medical records only through February 2022. The
Government has since received more comprehensive records from BOP spanning May 2022 to
February 2023, which is attached as Exhibit 1.
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have held did not rise to the level of “extraordinary and compelling.” For example, in United

States v. Rodriguez-Orejuela, 457 F. Supp. 3d 1275 (S.D. Fla. 2020), 3 at the height of the

COVID-19 pandemic, the 81-year-old inmate argued that he was an “old, beaten, and very sick

man” and that his medical conditions were “extraordinary and compelling reasons” to justify

compassionate release. Id. at 1279, 1281–82. He had suffered two heart attacks and received a

pacemaker after the second. Id. at 1282. And in addition to these two heart attacks, the inmate

allegedly suffered from metastatic colon cancer, metastatic prostate cancer, numerous

gastrointestinal and esophageal disorders, coronary artery disease, skin cancer, among and other

diseases. Id. Around the time that he filed the motion, the inmate in Rodriquez-Orejuela had

also been hospitalized and had separately seen a cardiologist for high blood pressure and cardiac

arrhythmia. Id. In support of his motion for release, the inmate submitted letters from his

cellmates detailing his frequent visits to the Federal Medical Center (up to four times per month),

his use of a “walker,” his inability to “bend down to pick stuff up,” and his need to “use the

bathroom” up to ten times per night. Id. Like Kapoor, the inmate in Rodriguez-Orejuela argued

that his medical conditions were “serious” and “substantially diminishe[d] his ability to provide

self-care.” Id. The court disagreed, concluding that the inmate was receiving adequate treatment

for all of his medical conditions. Id. at 1283. Because his condition was “stable,” “any risk of

death [was] not immediate or foreseeable and . . . he [was] still able to provide meaningful self-

care in prison,” given that he could “still move without assistance from others, albeit with

difficulty” and “provide sufficient self-care in his daily activities.” Id. at 1283–84. The court




3
  While the nature of defendant’s crimes was far more serious than Kapoor’s and the court held
that his motion for compassionate release failed under the Section 3553(a) factors, id. at 1284–
86, the court separately held that the defendant “fail[ed] to carry his burden for proving he merits
compassionate release” based on his extensive medical conditions, id. at 1281–84.
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concluded that his “medical condition, while far from perfect, [was] also far from extraordinary

and compelling.” Id. at 1283.

       Other courts have reached the same conclusion, holding that medical conditions like

those described in Kapoor’s motion do not rise to the level of “extraordinary and compelling.”

See, e.g., United States v. Taffe, 2020 WL 6700445, at *3 (S.D. Fla. 2020) (holding that seventy-

five-year-old inmate’s medical conditions did not “rise to the level of severity that would

warrant” such compassionate release, where inmate with skin cancer alleged that he had

experienced “three cardiovascular emergencies” and that his “cardiologist recommended a

pacemaker and defibrillator”); United States v. Gearhart, 2022 WL 3273893, at *1–3 (N.D. Ind.

2022) (denying compassionate release and finding that seventy-two-year-old defendant’s

“protestations about the urgency of his cardiac condition are belied” by the fact that he was

“discharged in stable and ambulatory condition” in “two instances when he was taken to an ER

for shortness of breath and slow heart rate”); United States v. Felts, 2020 WL 7181087, at *2–3

(S.D. Cal. 2020) (denying compassionate release and holding that defendant “has not shown that

his ability to provide self-care is substantially diminished or that [BOP] is unable to monitor and

adequately treat his medical conditions,” where seventy-five-year-old defendant suffered from

“heart problems requiring a pacemaker[], colon cancer, chronic hepatitis B, deep vein

thrombosis, and cirrhosis of the liver,” because he was “receiving the necessary medical care to

treat his various ailments”); United States v. Draper Dewayne Foster, 2021 WL 2949875, at *2–

3 (D.S.C. 2021) (denying compassionate release where defendant “suffered a heart attack shortly

after commencing his sentence within BOP” in addition to having “high blood pressure, diabetes,

high cholesterol, [and] cardiovascular issues”); United States v. Nelson, 2020 WL 3621244, at

*1–2 (D. Nev. 2020) (denying compassionate release where defendant had a recent heart attack



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and history of seizures); United States v. Bolze, 460 F. Supp. 3d 697, 709–710 (denying

compassionate release for seventy-one-year-old defendant who had a history of “two heart

attacks resulting in congestive heart failure disease and . . . hyperlipidemia, hypertension, [and]

cardiomyopathy”); United States v. Goldstein, 2023 WL 243229, at *2 (S.D.N.Y. 2023) (holding

that defendant’s “severe and symptomatic bradycardia” did “not constitute extraordinary and

compelling reasons for release”). See also United States v. Carlton, 2023 WL 1070219, at *4

(S.D.N.Y. 2023) (“While a heart attack is an extremely frightening experience for any human

being, it is a common scenario.”).

       Kapoor’s medical conditions are neither “terminal” nor of a type that substantially

diminish his ability to provide self-care. 4 U.S.S.G. § 1B1.13, cmt. n.1(A). BOP records

demonstrate that Kapoor has been in good spirits, “often seen walking the hallways and visiting

with others and challenging others to games of chess.” Ex. 1 at USAO_000149. Kapoor’s

chronic conditions are manageable and common for someone his age. About seventy percent of

American adults sixty-five and older have high blood pressure. Linda Searing, Majority of Older

People with Hypertension Don’t Check Blood Pressure, Washington Post (Oct. 9, 2022, 6:02




4
  Kapoor is unlike defendants whose medical conditions this Court has found to be “extraordinary
and compelling reasons” for compassionate release. In United States v. Dimasi, 220 F. Supp. 3d
173 (D. Mass. 2016), defendant developed throat and prostate cancers while incarcerated, and the
treatment “caused a narrowing of his esophagus,” which required continuous additional procedures
and led to “great difficulty” fulfilling basic daily functions like eating and breathing. See id. at
192–93. The condition was so bad that the Medical Director of the BOP “found that [defendant’s]
condition is sufficiently severe that it is ‘medically indicated that someone be present to assist
[him] with choking prevention while eating or drinking,’” id. at 193, prohibiting his ability to
provide self-care. Similarly, in United States v. Grajeda, 2022 WL 4237278 (D. Mass. 2022),
defendant was suffering from “late-stage cancer that appear[ed] to be spreading throughout her
body despite interventions including surgery and immunotherapy.” Id. at *3. Because defendant’s
condition, a “metastatic cancer,” was “expressly cited as an example of a ‘terminal illness’ that
would qualify as ‘extraordinary and compelling’ in the Applications Notes to the relevant section
of the Sentencing Guidelines,” this Court granted compassionate release. Id.
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AM), https://www.washingtonpost.com/wellness/2022/10/09/blood-pressure-monitoring-

numbers-adults/. According to the CDC, over twenty-five percent of men eighty and older have

peripheral arterial disease. Peripheral Arterial Disease (PAD), Centers for Disease Control and

Prevention (Dec. 19, 2022), https://www.cdc.gov/heartdisease/PAD.htm. Kapoor’s conditions

are closely monitored and managed by his doctors, and he takes numerous prescription

medications to address them. See, e.g., Ex. 1 at USAO_000009, 000078–81, 000140, 000176.

       Likewise, his cardiac conditions are stable and manageable. On May 12, 2022, Kapoor

was seen by interventional cardiologist Dr. Takeshi Onizuka at St. Luke’s Cardiology

Associates. Ex. 1 at USAO_000194–197. Kapoor received an                  , a “stress” test, and Holter

monitoring. 5 See id. The         revealed                  and both the stress test and Holter were

“unremarkable,” with “no significant arrhythmia issues [d]etected.” See id. at 000194–197,

000244. Dr. Onizuka recommended only to “[c]ontinue current medications.” Id. at 000196.

       On November 29, 2022, at Kapoor’s request, Kapoor saw vascular surgeon Dr. Mark

Eginton at St. Luke’s Vascular Surgery Associates. See id. at 000066, 000205–208, 000227. Dr.

Eginton observed that Kapoor was “healthy appearing and well nourished.” Id. at 000207. He

noted that Kapoor’s heart had a                                  Id. Dr. Eginton conducted a CT

angiogram and reviewed Kapoor’s prior cardiology records. Id. He observed that Kapoor’s

symptoms (leg pain) were “much more consistent with arthritis” than a vascular issue. Id. He

concluded that Kapoor had                    and that his          conditions were being “fairly




5
  A Holter monitor is a “small, wearable device that records the heart’s rhythm” and detects
“irregular heartbeats.” It is more precise and sensitive than an EKG. Holter Monitor, Mayo
Clinic (Mar. 25, 2022), https://www.mayoclinic.org/tests-procedures/holter-monitor/about/pac-
20385039.
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optimally managed.” Id. at 000207, 000052. He recommended only “periodic” follow-up. Id. at

000207.

       Omitted from Kapoor’s motion and accompanying exhibits was any reference to his

November 2022 visit to the vascular surgeon. Neither of the two non-treating cardiologists who

opined on Kapoor’s December 2022 hospital visit knew about this earlier, relevant November

2022 visit either—they were apparently only provided with a small excerpt of Kapoor’s medical

records. Motion Exs. 2–3 (stating Drs. Gaziano and Woods reviewed only the documents from

the December 27, 2022 hospital visit). On December 27, 2022, Kapoor visited the emergency

department at St. Luke’s Hospital, where he received                 . Motion Ex. 1; Ex. 1 at

USAO_000175–183. The discharge notes from that visit indicate that his evaluation was

“reassuring, with no evidence of injury to [his] heart or muscles” and that         “[did] not

suggest any other serious problems” besides the “slow rhythm.” Ex. 1 at USAO_000182.

Finally, a subsequent       conducted by BOP on February 8, 2023, does not support the

conclusion that Kapoor                               . That                      test did not

reveal signs of a previous myocardial infarct (a heart attack). See Ex. 1 at USAO_000248.

(Indeed, Kapoor’s own expert (Dr. Woods) agreed that a “recent myocardial infarction [was]

unlikely.” Motion Ex. 3 at 1. Consistent with BOP’s practice of closely monitoring him and

consistent with the recommendations of Kapoor’s experts, he will undergo yet another

          on March 3, 2023, and will visit a cardiology specialist the week after. See Ex. 1 at

USAO_000001. Kapoor’s health condition has been, and will continue to be, well-managed.

       The two cases cited by Kapoor to support the conclusion that a heart attack presents an

“extraordinary and compelling circumstance justifying the relief requested” are distinguishable.

Motion at 12. First, United States v. Calhoun, 539 F. Supp. 3d 613 (S.D. Miss. 2021), relied on a



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policy statement of the U.S. Sentencing Guidelines that does not apply to Kapoor, so its holding

has no bearing on whether a heart attack “substantially diminishes the ability of the defendant to

provide self-care within the environment of a correctional facility.” 6 U.S.S.G. § 1B1.13, cmt.

n.1(A) (emphasis added). By contrast, the cases the Government cites (see supra) show that a

heart attack, bradycardia, and other cardiac conditions—along with equally serious and even

graver ailments—are not sufficient to establish that an individual is unable “to provide self-care

within the environment of a correctional facility.” Motion at 11; U.S.S.G. § 1B1.13, cmt. n.1(A).

Second, the defendant in United States v. Patton, 2023 WL 144115 (W.D. Pa. 2023), suffered

much more than “a serious heart attack,” as described in Kapoor’s motion, Motion at 12. Unlike

Kapoor, the defendant in Patton had a “hole in [his] heart, which required complex surgery and




6
         In Calhoun, a 65 year-old inmate who “experienced a heart attack while incarcerated”
was granted compassionate release. Calhoun, 539 F. Supp. 3d at 616–17. But the Calhoun court
relied on a policy statement of the U.S. Sentencing Guidelines that does not apply to Kapoor.
See id. at 616. The court referred not to the “Medical Condition of the Defendant” found in
Comment 1(A), but to Comment 1(B)’s “Age of the Defendant.” Id. That comment applies
when a “defendant i) is at least 65 years old; ii) is experiencing a serious deterioration in physical
or mental health because of the aging process; and iii) has served at least 10 years or 75 percent
of his or her term of imprisonment, whichever is less.” Id. (emphasis added); see also U.S.S.G.
§ 1B1.13, cmt. n.1(B).
          Kapoor does not meet the third prong of this policy statement, because he has not served
at least 10 years of imprisonment, nor has he served 75% percent of his term. He has served
only 23 months, or approximately 35% of his original term of imprisonment (based on a
calculation of twenty-three months served since April 2021 and a total original sentence of sixty-
six months). This distinction is relevant because, unlike Comment 1(A), Comment 1(B) does
not require that the medical condition “substantially diminish[] the ability of the defendant to
provide self-care within the environment of a correctional facility” and that the deterioration is
something “from which he . . . is not expected to recover.” U.S.S.G. § 1B1.13, cmt. n.1(A).
Thus, while Calhoun supports the proposition that a heart attack—in combination with
defendant’s various other cardiac conditions and ailments including gout, type 2 diabetes, and
stage 2 hypertensive retinopathy—may be a “serious deterioration in physical . . . health,” it does
nothing to address whether such conditions impede a defendant’s ability to provide self-care,
which is the relevant inquiry here.


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significant follow-up. Patton, 2023 WL 144115, at *2. 7 By contrast, the doctors at St. Luke’s

Hospital, who have personally treated Kapoor, listed his condition as “stable” and prescribed no

specific follow-up measures. See Ex. 1 at USAO_000182. Kapoor’s cardiac condition simply

does not rise to the level of seriousness and exigency presented in Patton, which the court

characterized as “unusual.” Patton, 2023 WL 144115, at *2.

B.   BOP has closely monitored Kapoor’s conditions throughout his incarceration, has
      provided consistent and adequate medical care, and can address Kapoor’s
     common health ailments going forward.

       Because of his medical conditions, Kapoor has been regularly evaluated and closely

monitored by BOP medical staff and has undergone routine medical testing. Kapoor gets regular

blood work. See, e.g., Ex. 1 at USAO_000157–158. His requests for additional             are

respected and acted upon. See, e.g., Ex. 1 at USAO_000024, 000073, 000236. In fact, Kapoor

has received at least eight       since reporting to FPC-Duluth in May 2021: at least two in

May 2022, one in August 2022, three on December 27, 2022 (one at BOP and two at St. Luke’s),

and one on February 8, 2023. See Ex. 1 at USAO_000236, 000248, 000002. Additionally, in

May 2022, Kapoor underwent a                                                 , and in November

2022, Kapoor received a                 . Ex. 1 at USAO_000194-196, 205-207.

       Kapoor has been treated by sophisticated doctors in high-quality facilities. As described

earlier, on November 29, 2022, Kapoor was evaluated by Dr. Eginton, a vascular surgeon at St.

Luke’s. 8 When he complained of arm pain on December 27, 2022, BOP took him to St. Luke’s




7
  Such a hole can “cause a host of complications, including heart failure, stroke, early death, and
high blood pressure in the lung arteries.” Id. While incarcerated, Patton underwent “surgery to
close this hole” and required significant follow-up attention during his ongoing recovery, whose
success was precarious. See id.
8
  For background on the qualifications of vascular surgeon Dr. Eginton, see Mark Eginton, MD,
FACS, St. Luke’s, https://www.slhduluth.com/physician-directory/mark-eginton-md-facs/.
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Hospital without delay. Ex. 1 at USAO_000175–183. While there, he was provided with care at

a state-of-the-art Emergency Department, which opened in August 2020. St. Luke’s New

Emergency Department & Cardiac Cath Labs Now Open, St. Luke’s (Aug. 25, 2020),

https://www.slhduluth.com/news/2020/august/st-luke-s-new-emergency-department-cardiac-

cath-/. The Emergency Department at St. Luke’s boasts “the region’s most technologically

advanced Cardiac Cath Labs.” Id. One of St. Luke’s “featured services” is cardiology, where

doctors provide the “latest technology treatments” including electrophysiology, which deals with

the heart’s rhythm. Cardiology, St. Luke’s, https://www.slhduluth.com/services/cardiology/. At

St. Luke’s, Kapoor received additional        which were reviewed by an interventional

cardiologist, Dr. Takeshi Onizuka. 9 Dr. Onizuka is the same cardiologist who evaluated Kapoor

in May 2022. As this visit shows, BOP has demonstrated both a willingness and an ability to

transport Kapoor to receive specialized care when the need arises. 10

       The opinions of the two cardiologists Kapoor retained to write letters on his behalf do not

suggest anything to the contrary. They had no visibility into the care St. Luke’s and FPC-Duluth

had provided Kapoor throughout 2022 and thus no basis to evaluate that level of care. Both

doctors recommended that Kapoor receive a “cardiac stress test,” undergo further evaluation by a

cardiologist, and potentially receive a pacemaker. See Motion Exs. 2–3. Consistent with these

recommendations, BOP has already scheduled a stress test for Kapoor to be administered on

March 3, 2023, and has scheduled an additional appointment with a cardiologist a week

thereafter. Ex. 1 at USAO_000001. And if a pacemaker is found to be necessary, St. Luke’s




9
  For background on the qualifications of interventional cardiologist Dr. Onizuka, see Takeshi
Onizuka, MD, St. Luke’s, https://www.slhduluth.com/physician-directory/takeshi-onizuka-md/.
10
   Kapoor was also taken to St. Luke’s in April 2022 for a hearing evaluation. Ex. 1 at
USAO_000200.
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Hospital, where Kapoor has been seen multiple times, clearly has the facilities and the capacity

to perform this common, 60-minute procedure. Electrophysiology, St. Luke’s,

https://www.slhduluth.com/services/electrophysiology/ (advertising electrophysiology services

including the “implantation of pacemakers”).

       As the upcoming stress test and cardiology appointments make clear, Kapoor’s argument

that the BOP has failed to provide and is incapable of providing him with appropriate care is

inaccurate. United States v. Patton, one of the cases on which Kapoor’s motion relies,

demonstrates the high bar necessary to show a failure to provide care—a bar Kapoor’s situation

does not meet. There, doctors had ordered specific post-surgery follow-ups that the defendant

never received. See Patton, 2023 WL 144115, at *2. After his complex surgery, cardiologists

recommended that the defendant have “routine visits” to receive specialized “therapy.” Id. But

the record showed that the defendant never “had those visits.” Id. In fact, he “ha[d] not been

seen by a physician” for at least seven months. Id. It was not surprising, therefore, that the court

had “serious concerns that [the defendant] ha[d] not received appropriate post-op treatment.” Id.

By contrast, nothing in the record here suggests that BOP has failed to provide Kapoor with any

follow-up care that was recommended by any doctor.

       Instead, Kapoor is like the defendant in United States v. Gearhart, who argued that

release was justified because “the prison [was] providing him inadequate medical care for

serious medical conditions.” Gearhart, 2022 WL 3273893, at *1. Like Kapoor, the defendant in

Gearhart was elderly (seventy-two years old), had “poor cardiac health,” and “maintain[ed] that

he likely needs a pacemaker in view of recent episodes of bradycardia.” Id. The defendant had

likewise visited “internal medical facilities” at his prison and had twice been taken to a “local

emergency room.” Id. at *2.



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       Rejecting the motion for early release, the Gearhart court observed that “[d]elays in

health care are routine” and emphasized that the defendant—like Kapoor—had “been taken to a

hospital emergency department, from which he has been discharged each time after doctors

insured that his condition was not emergent.” Gearhart, 2022 WL 3273893, at *2. It held that

the “kind of medical attention [Gearhart received] does not readily support a conclusion that his

health [was] being neglected.” Id.; see also United States v. Green, 2021 WL 1923281, at *1–2

(S.D. Cal. 2021), aff’d, 2021 WL 5818502 (9th Cir.) (denying compassionate release where

seventy-three-year-old inmate, who suffered from “congestive heart failure, kidney failure, and a

history of traumatic brain injuries,” argued that “BOP has failed to provide needed outside

consults and care by specialists – especially cardiac care and defibrillator / pacemaker

monitoring” because these allegations were “conclusory” and inmate had not “produced

evidence that BOP is unable to properly treat him or adequately safeguard his health and safety

during the remainder of his sentence”); United States v. Cooke, 2022 WL 2104283, at *1–2 (D.

Mass. 2022) (denying compassionate release where defendant had a “series of underlying health

issues, mostly related to heart disease” and “there [was] nothing in the record to suggest that his

medical needs are not, or cannot, be well managed within” his correctional facility).

       Kapoor is more like Gearhart than Patton. Kapoor has failed to show that BOP is unable

to care for him or that BOP has neglected his health. If anything, BOP has been attentive and

proactive and has provided Kapoor with adequate and specialized care.

C.   Kapoor’s sleep apnea does not present an “extraordinary and compelling reason” for
     early release.

       Kapoor’s sleep apnea is not an “extraordinary and compelling reason” to grant

compassionate release. Kapoor repeatedly complains in his motion that his CPAP machine was

recalled, but he neglects to inform the Court that he has had a prison-issued CPAP machine since

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October 2022—four months before he filed his motion. Ex. 1 at USAO_000056, 000117,

000132, 000056 (noting in October 2022 that Kapoor “now has his c-pap machine and been

using it accordingly”). Kapoor makes a separate argument concerning the use of his CPAP

machine, maintaining that it would be “unsafe” to use it without distilled water. BOP officials

FPC-Duluth have confirmed that distilled water to operate the CPAP machine will be provided.

D.    Kapoor’s risk of contracting COVID-19 does not present an “extraordinary and
     compelling reason” for early release.

       Kapoor’s argument that his medical conditions place him at a higher risk of

complications from COVID-19 and thus require compassionate release should fail. First, the

epidemiological conditions at FPC Duluth do not appear to be risky. FPC Duluth is currently

classified as “Level 1,” FPC Duluth, Federal Bureau of Prisons, 11 the lowest of three operational

levels under which BOP facilities have been classified during the pandemic. 12   Furthermore,

according to BOP statistics, there are currently zero inmates and zero staff members positive for

COVID-19 at Kapoor’s facility. BOP COVID-19 Statistics, Federal Bureau of Prisons,

https://www.bop.gov/coronavirus/covid19_statistics.html (last visited Feb. 17, 2023).

       Second, vaccination against COVID-19 “significantly reduce[s]” both “the likelihood of

contracting COVID-19 and the associated risks.” United States v. Lemons, 15 F.4th 747, 751

(6th Cir. 2021) (holding that, “even recognizing the purported seriousness of [inmate’s]

[medical] condition” and corresponding heightened risk of COVID-19 complications, his

vaccination “substantially undermine[d]” his “extraordinary and compelling” argument). Kapoor

has received                                                                               , the




 See https://www.bop.gov/locations/institutions/dth/ (last visited Feb. 17, 2023),
11

12
  See COVID-19 Modified Operations Plan & Matrix, Federal Bureau of Prisons,
https://www.bop.gov/coronavirus/covid19_modified_operations_guide.jsp.
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most recent one in August 2022. Ex. 1 at 000240, 00045, 000131. While the First Circuit has

not spoken directly on this point, several circuits have held that a defendant’s vaccination against

COVID-19 militates strongly against finding an “extraordinary and compelling” reason for

compassionate release based on the risks associated with contracting COVID-19. See, e.g.,

United States v. Broadfield, 5 F.4th 801, 803 (7th Cir. 2021); United States v. Granado, 2022

WL 17974458, at *1 (3d Cir. 2022) (holding that, although 78-year-old defendant suffering from

hypertension, hyperlipidemia, cardiac arrhythmia, and obesity was “at a higher risk of serious

illness from COVID-19,” the district court was not wrong to rely on his vaccination against

COVID-19 to conclude that “he did not establish an extraordinary and compelling reason

justifying his release”).

                                         CONCLUSION

        For the reasons set forth above, the Court should deny Kapoor’s Motion to Modify

Sentence.

                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I, Patrick M. Callahan, hereby certify that the foregoing was filed through the Electronic
Court Filing System and will be sent electronically to registered participants as identified on the
Notice of Electronic Filing.

Date: February 17, 2023                               /s/ Patrick M. Callahan
                                                      Patrick M. Callahan
                                                      Assistant U.S. Attorney




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